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Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 F.V. and DANI MARTIN,
                                                    Case No. 1:17-cv-000170-CWD
                       Plaintiffs,
                                                    DEFENDANTS’ OPPOSITION TO
 vs.                                                PLAINTIFFS’ MOTION FOR
                                                    ATTORNEYS’ FEES AND EXPENSES
 DAVID JEPPESEN, in his official capacity as        [DKT.83]
 Director of the Idaho Department of Health
 and Welfare and ELKE SHAW-TULLOCH,
 in her official capacity as Administrator of the
 Division of Public Health the Idaho
 Department of Health and Welfare, and
 JAMES AYDELOTTE, in his official capacity
 as State Registrar and Chief of the Bureau of
 Vital Records and Health Statistics,

                       Defendants.


       Defendants, by and through their counsel of record, respond to Plaintiffs’ Motion for

Attorneys’ Fees and Expenses (Dkt. 83) filed on September 29, 2021. The Court should reject

Plaintiffs’ request for close to a half million dollars in attorneys’ fees under 42 U.S.C. § 1988

because it is excessive and unreasonable. For the reasons noted below, a reasonable fee award in



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this matter would be no more than $148,000. Thus, Plaintiffs’ fee request should be reduced

accordingly. This response is supported by the Declaration of Steven L. Olsen (“Olsen Dec.”) filed

contemporaneously herewith.

                                       I.       INTRODUCTION

        Plaintiffs seek an award of $456,478 in attorneys’ fees and expenses under § 1988 as the

prevailing party in these post-judgment proceedings. Plaintiffs initiated these post-judgment

proceedings in April 2020 in an effort to enforce the terms of an injunctive order this Court entered

in March 2018. Their fee request for close to a half million dollars is shocking for a number of

reasons, primarily because the amount of fees they currently seek is six times the amount of fees

they recovered in the underlying action where they obtained the initial injunction. Applying the

guidelines set forth in Hensley v. Eckerhart, 461 U.S. 424 (1983) and its progeny governing the

award of fees under § 1988, this Court should significantly reduce Plaintiffs’ fee request to ensure

that they do not receive a windfall and are only awarded what is reasonable in light of the

circumstances of this case. 1

        As a threshold matter, an award of close to half a million in legal fees for post-judgment

work that occurred over a less than five-month period of time is excessive on its face. But even

considering the specifics of this case, such a large fee request is not justified. In the underlying

litigation, Plaintiffs obtained a ruling from this Court that the prior policy under which the Idaho

Department of Health and Welfare (IDHW) processed applications to change information on one’s

birth certificate was unconstitutional where it violated the constitutional rights of transgender

people, such as Plaintiffs, protected under the U.S. Constitution’s Equal Protection Clause. In so



1
 For purposes of Plaintiffs’ pending fee petition, Defendants do not dispute that Plaintiffs are the prevailing
party here, as that term is defined under applicable law. But the extent to which they prevailed is limited as
explained below.

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ruling, the Court addressed several constitutional issues of first impression, including determining

what level of constitutional scrutiny should apply to IDHW’s policy moving forward and what

type of injunctive relief was appropriate to prevent any further harm to Plaintiffs. After

determining the applicable level of constitutional scrutiny, the Court entered an injunction

prohibiting enforcement of IDHW’s then-current policy. (3/5/18 Mem. Dec. & Order, Dkt. 39).

       Two years after issuance of the Court’s March 2018 injunction, the Idaho Legislature

passed House Bill 509, which set out a new application process for obtaining changes to one’s

birth certificate. However, before HB 509 even became law, Plaintiffs immediately filed a motion

to clarify, requesting, in expedited fashion, a prompt order declaring that HB 509 violates the

March 2018 injunction. The Court refused to provide such a declaration, ruling that it was

premature to reach such conclusion where it was unclear at that time what steps, if any, the IDHW

would take to enforce HB 509 if and when it did become law. (6/1/20 Mem. Dec. & Order, Dkt.

58).

       After the IDHW made it clear that it intended to enforce HB 509 as written once enacted,

and that, in doing so, it would only honor requests to change one’s birth certificate if the request

was accompanied by a court order that contained certain express findings regarding any change,

Plaintiffs again returned to this Court to file a second expedited motion to clarify. In their second

motion, Plaintiffs sought a declaration that the IDHW’s stated enforcement plan for HB 509

violates the injunction. Unlike their first attempt, Plaintiffs succeeded on their second motion. The

Court granted the second motion and held that the IDHW’s stated enforcement plan for HB 509

must be abandoned where it constituted a direct violation of the injunction. (8/7/20 Memo. Dec.

& Order, Dkt. 75).




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          Admittedly, Plaintiffs are the prevailing party here, as that term is contemplated under §

1988, where they ultimately received the relief they sought concerning HB 509. But being the

ultimate victor does not mean that Plaintiffs are automatically entitled to recover all of the fees

and expenses requested in their fee petition. The law only permits an award of reasonable fees and

expenses, and this Court has the discretion to decide what is reasonable based on the circumstances

of this case. As explained below, Plaintiffs’ fee request for their post-judgment work is excessive

and must be reduced. The reduced award should reflect a reasonable hourly rate for Plaintiffs’

counsels’ post-judgment work based on Boise’s prevailing market rates and should not include

any of counsels’ out-of-state hourly rates. The reduced award should also not include any hours

counsel spent on work that was unnecessary or redundant, including Plaintiffs’ first motion for

clarification, which was prematurely filed and did not contribute to their ultimate victory in this

matter.

                                    II.     LEGAL STANDARD

          Under 42 U.S.C. § 1988, “the court, in its discretion, may allow the prevailing party . . . a

reasonable attorney’s fee as part of the costs.” Id. § 1988(b). Courts use the lodestar method to

determine a reasonable fee. Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). Under the lodestar

method, “a reasonable fee is the number of hours reasonably expended on the litigation multiplied

by a reasonable hourly rate.” Id. “A ‘strong presumption’ exists that the lodestar figure represents

a ‘reasonable’ fee, and upward adjustments of the lodestar are proper only in ‘rare’ and

‘exceptional’ cases . . . .” Jordan v. Multnomah County, 815 F.2d 1258, 1262 (9th Cir. 1987)

(quoting Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air, 478 U.S. 546, 565

(1986) and Blum v. Stenson, 465 U.S. 886, 898-901 (1984)).




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       “In setting a reasonable attorney’s fee, the district court should make specific findings as

to the rate and hours it has determined to be reasonable.” Gracie v. Gracie, 217 F.3d 1060, 1070

(9th Cir. 2000). The fee applicant bears the burden of establishing that the hours it claims are

reasonable; and it must submit adequate documentation of those hours and provide documentation

that, where appropriate, “enable[s] a reviewing court to identify distinct claims.” Hensley, 461

U.S. at 437.

       Courts should exclude from their lodestar calculations “hours that are excessive, redundant,

or otherwise unnecessary.” Id. at 434. See also Idaho Conserv. League v. Magar, 2015 WL

5469603, *3 (D. Idaho Sept. 17, 2015) (recognizing that “[t]he reasonableness inquiry is controlled

by the overriding consideration of whether the attorney’s hours were ‘necessary’ under the

circumstances”) (emphasis added). Fee-reviewing courts “need not, and indeed should not,

become green-eyeshade accountants;” rather, they “may take into account their overall sense of a

suit, and may use estimates in calculating and allocating an attorney's time.” Fox v. Vice, 563 U.S.

826, 838 (2011).

       With respect to hourly rates, “[a] district court should calculate [the] reasonable hourly rate

‘according to the prevailing market rates in the relevant community,’ which typically is the

community ‘in which the district court sits.’” Schwarz v. Sec’y of Health & Human Servs., 73 F.3d

895, 906 (9th Cir. 1995) (internal quotes and citations omitted). “[T]he burden is on the fee

applicant to produce satisfactory evidence—in addition to the attorney’s own affidavits—that the

requested rates are in line with those prevailing in the community for similar services by lawyers

of reasonably comparable skill, experience and reputation.” Blum, 465 U.S. at 895 n.11 (1984).

       A district court has discretion to make a downward adjustment to the lodestar amount for

the ultimate “results obtained” in the case. Indeed, the ultimate results obtained is a “crucial



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[factor],” when assessing a reasonable attorney’s fee, “where a plaintiff is deemed ‘prevailing’

even though [the plaintiff] succeeded on only some of [its] claims for relief,” Hensley, 461 U.S. at

434, or prevailed only during certain stages of litigation, but not others. See Cabrales v. County of

Los Angeles, 935 F.2d 1050 (9th Cir. 1991) (acknowledging that prevailing civil rights plaintiff

may not recover attorney’s fees for unsuccessful stage of litigation that did not contribute to

plaintiff’s ultimate victory).

       When considering whether to make a downward adjustment based on ultimate results
obtained in a case, the district court should apply a two-part analysis:
                 First, [it should] ask[] whether the claims upon which the plaintiff failed to
        prevail were related to the plaintiff’s successful claims. If unrelated, the final fee
        award may not include time expended on the unsuccessful claims. If the
        unsuccessful and successful claims are related, then the court must apply the second
        part of the analysis, in which the court evaluates the ‘significance of the overall
        relief obtained by the plaintiff in relation to the hours reasonably expended on the
        litigation.’ If the plaintiff obtained ‘excellent results,’ full compensation may be
        appropriate, but if only ‘partial or limited success’ was obtained, full compensation
        may be excessive.

Schwarz, 73 F.3d at 901-02 (quotation omitted) (emphasis added). In a case that does not involve

multiple claims, but has varying stages of litigation, some in which the plaintiff did not prevail,

the proper analysis in determining whether to award fees for the unsuccessful stage of litigation is

whether the unsuccessful stage can be said to have contributed to the plaintiff’s ultimate victory.

If it did not, fees incurred for the unsuccessful stage should be deducted from the fee award. See

Cabrales, 935 F.2d at 1052.

        When making a downward adjustment to the lodestar amount in those cases when the

prevailing plaintiff has achieved only limited success, the preferred approach is to identify the

specific hours spent on the unsuccessful claims, or unsuccessful stages of litigation, and eliminate

those hours from the lodestar calculation. When this cannot be done for whatever reason, the

district court may exercise its discretion and apply whatever mathematical calculation it believes


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is appropriate under the circumstances to reduce the lodestar amount to account for the limited

success achieved. Hensley, 461 U.S. at 436-37; Schwarz, 73 F.3d at 904.

        Once the presumptively reasonable lodestar amount has been determined, the district court

should then consider whether it is necessary to adjust this figure further based on the factors

enumerated in Kerr v. Screen Extras Guild, Inc., 526 F.2d 67 (9th Cir. 1975), that are not already

subsumed in the initial lodestar calculation. Morales v. City of San Rafael, 96 F.3d 359, 363–64

(9th Cir. 1996). 2 All in all, when considering an award of reasonable attorney’s fees, the court

should keep in mind that the purpose of § 1988 is “not to provide ‘a form of economic relief to

improve the financial lot of attorneys.’” Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 552 (2010)

(quoting Delaware Valley, 478 U.S. at 565). Fee awards should “‘not produce windfalls to

attorneys.’” Id. (quoting Blum, 465 U.S. at 897).

                                           III.    ARGUMENT

     A. The Number of Hours Plaintiffs’ Counsel Spent On Post-Judgment Enforcement
        Efforts Is Excessive and Unreasonable Under The Circumstances

        1. Plaintiffs’ claim for post-judgment fees is excessive where it is more than six
           times the fees they recovered for securing the initial injunction

        The Ninth Circuit Court of Appeals in Webb v. Ada County, Idaho, 195 F.3d 524, 526 (9th

Cir. 1999), affirmed this Court’s reduction of hours expended and the hourly rate sought by the

prevailing civil rights plaintiff in that case when calculating the lodestar amount for an award of


2
  The twelve Kerr factors include: 1) the time and labor required; 2) the novelty and difficulty of the
questions involved; 3) the skill requisite to perform the legal service properly; 4) the preclusion of other
employment by the attorney due to acceptance of the case; 5) the customary fee; 6) whether the fee is fixed
or contingent; 7) time limitations imposed by the client or the circumstances; 8) the amount involved and
the results obtained; 9) the experience, reputation, and ability of the attorneys; 10) the undesirability of the
case; 11) the nature and length of the professional relationship with the client; and (12) awards in similar
cases. Kerr, 526 F.2d at 70. “Among the subsumed factors presumably taken into account in … the lodestar
calculation are: (1) the novelty and complexity of the issues, (2) the special skill and experience of counsel,
(3) the quality of representation . . .(4) the results obtained, and (5) the contingent nature of the fee
agreement.” Morales, 96 F.3d at 364 n. 9 (internal quotations and citations omitted).

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attorney fees for plaintiff’s post-judgment work primarily because the issues raised in the post-

judgment proceedings were not as “complex or risky” as the issues raised in the initial, underlying

action. The same is true in the present case. Thus, a result similar to that reached in Webb should

be reached here.

       Here, the primary issue raised in the post-judgment proceedings was the proper scope of

the Court’s March 2018 injunction. In determining the scope of the injunction, there was no need

for the parties to brief, or for the Court to decide or clarify, any ambiguous terms in the injunction.

Instead, the Court was required to address a number of other issues, including primarily the

threshold questions of ripeness and standing. (6/1/20 Memo. Decision at 6-8). Ripeness and

standing are bedrock legal principles, and their general application constitutes well-established

law. Ultimately, Plaintiffs’ post-judgment enforcement efforts (despite their argument to the

contrary) were not legally complex. Indeed, their post-judgment enforcement efforts were no more

complicated, and were arguably much less complicated, than the weighty constitutional issues the

parties had to grapple with in the initial proceedings leading up to issuance of the injunction.

       In the initial proceedings, Plaintiffs were awarded, pursuant to a stipulation of the parties,

approximately $75,000 in attorney fees for litigating what level of constitutional scrutiny should

apply to the IDHW’s policy governing efforts made by transgender people to change the sex

identification on their Idaho birth certificates. This issue was very complex and involved

constitutional issues of first impression. The Court and the parties were also required to address

what associated injunctive relief was appropriate. Plaintiffs presumably would not have agreed to

accept an award of fees in the initial proceedings that did not fairly and reasonably compensate

their counsel for the complex legal work their counsel performed to secure the Court’s decision

addressing the important constitutional issues involved and the injunctive relief Plaintiffs sought.



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Thus, presumably, a fee award of $75,000 in the initial proceedings was a reasonable fee award

given the complexity of those proceedings.

        For Plaintiffs to now request over six times the amount of reasonable attorneys’ fees they

obtained in the initial proceedings as legal fees they claim they are entitled to recover in the instant

proceedings is flat-out unreasonable. This is especially so where, as explained above, the instant

proceedings were far less complex and more stream-lined than the initial proceedings. 3 Consistent

with the analysis and result reached in Webb, any fee award granted to Plaintiffs in the instant

matter should be reduced to reflect the less complex and short-lived nature of these post-judgment

proceedings. See Newman v. City of Payette, 2016 WL 1611430, *3-4 (D. Id. 4/21/16) (reducing

prevailing plaintiff’s fee request to reflect fact that the facts and legal issues in that case were less

complex than those presented in other similar civil rights cases relied upon by plaintiff in plaintiff’s

fee petition).

        2. Because their first motion to clarify was unnecessary and did not
           contribute to the ultimate victory they obtained in these proceedings,
           Plaintiffs are not entitled to recover fees for prosecution of this motion

        This Court has the discretion to reduce Plaintiffs’ fee award based on the limited success

that Plaintiffs obtained in these proceedings. See Hensley, 461 U.S. at 436-37. It can reduce

Plaintiffs’ fee award in one of two ways. It can either exclude the hours Plaintiffs spent on their

unsuccessful claim, or unsuccessful stage of litigation, from its lodestar calculation, or it can apply

whatever mathematical calculation it believes is warranted under the circumstances to reduce the

lodestar amount to account for Plaintiffs’ limited success. Id.; Schwarz, 73 F.3d at 904. The former


3
  The duration of the initial proceedings in this matter was twice as long as the post-judgment proceedings.
See Plfs’ Complaint (Dkt. 1) filed April 2017 and Court’s resultant injunctive order entered almost a year
later in March 2018 (Dkt. 39). Compare this to the less than five-month period spent by counsel litigating
the scope of the March 2018 injunction in the instant post-judgment proceedings. See Plfs’ first motion to
clarify filed April 2020 (Dkt. 46) and the Court’s resulting (final) decision (Dkt. 75) clarifying the scope of
the injunction entered in August 2020.

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method should be used if the Court concludes that Plaintiffs’ unsuccessful claims are unrelated to

their successful claims and if the time Plaintiffs’ counsel expended on the unsuccessful claims is

easy to identify or isolate. If such is not the case—in other words, if the Court concludes that

Plaintiffs’ unsuccessful claims are related to their successful claims, or if Plaintiffs’ billing records

filed in support of their fee petition fail to distinguish between work spent on successful and

unsuccessful claims—this Court may use the second method. Webb v. Sloan, 330 F.3d 1158, 1169

(9th Cir. 2003).

        Long-standing Ninth Circuit precedent exists to support reducing Plaintiffs’ fee award in

either of these two ways. See, e.g., Toussaint v. McCarthy, 826 F.2d 901 (9th Cir. 1987) (in case

where prison inmates brought class action challenging certain prison conditions and segregation

procedures, but only a portion of district court’s injunctive relief granted was upheld on appeal,

Ninth Circuit held prisoners only achieved limited success on appeal, thus entitling them to only

37.5% of total lodestar amount of fees); Schwarz, 73 F.3d at 903-04 (affirming lower court’s

reduction of lodestar amount to account for deduction of time spent on plaintiff’s unsuccessful

claims, noting that plaintiff’s unsuccessful claims were different from her one successful claim,

where the claims arose from different facts and sought distinctly different relief); Webb v. Ada

County, Idaho, 195 F.3d 524, 526-27 (9th Cir. 1999) (affirming lower court’s partial award of fees

to civil rights plaintiff in post-judgment proceedings, where plaintiff only partially prevailed on

post-judgment issues raised, effecting a 19 to 64% reduction in legal hours requested in plaintiff’s

fee petition). This Court’s prior fee awards are in accord. See, e.g., United States ex rel. Madsen

v. St. Luke’s Health System, Ltd., 2020 WL 873911, *4 (D. Id. 2/21/20) (reducing lodestar amount

for prevailing plaintiff’s fee award by 17% to account for time plaintiff’s counsel spent litigating

plaintiff’s unsuccessful claims); Newman v. City of Payette, 2016 WL 1611430, *4 (D. Id. 4/21/16)



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(reducing prevailing plaintiff’s fee award by 20% to account for fact that some of plaintiffs’ claims

were dismissed for lack of standing).

        In the present matter, the relief sought in Plaintiffs’ first motion to clarify—a motion they

did not prevail on (their unsuccessful motion)—is different from the relief sought in their second

motion to clarify, where they did prevail (their successful motion). In Plaintiffs’ first motion, they

effectively sought a ruling that the proposed HB 509 violated the Court’s March 2018 injunction.

See Dec. of P. Renn in Supp. of Plfs’ Mot. For Fees (Dkt. #83-2) (“Renn Dec.”), ¶ 21 (describing

relief sought in Plaintiffs’ first motion). Plaintiffs also sought a declaration that, if Defendants

intended to enforce HB 509, they must first file a motion to dissolve the injunction. Id. The Court

refused to issue either of these two rulings, ultimately concluding that the issues raised by Plaintiffs

regarding HB 509 were not ripe for review. (6/1/20 Memo. Dec. at 8). 4 Surely it would be

unreasonable to require Defendants to pay for a motion that the Court denied as prematurely filed.

        Unlike their first motion to clarify, in Plaintiffs’ second motion, they sought a ruling that

the IDHW’s plans for enforcing or implementing proposed HB 509 once it became law violated

the injunction. The Court agreed with Plaintiffs and granted their second motion in full. In doing

so, the Court expressly concluded that the issue raised in Plaintiffs’ second motion, unlike those

raised in their first motion, was ripe for review. (8/7/20 Memo. Dec. at 6).

        Because Plaintiffs’ two motions focused on a different set of facts or course of conduct

(i.e., HB 509 itself vs. the IDHW’s specific enforcement plan for HB 509) and each sought

distinctly different relief, the two motions should be deemed unrelated for purposes of this Court’s

lodestar calculation. Further, because the primary issue framed in Plaintiffs’ first motion to clarify

was an issue the Court concluded was not ripe for review at the time that motion was filed, it can


4
 Defendants raised the ripeness argument in their opposition to Plaintiffs’ first motion to clarify, (Defs’
Opp. Br. (Dkt. 70) at 10-11), and prevailed on that argument.

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hardly be said that Plaintiffs’ first motion was a “necessary” step to Plaintiffs achieving the success

they eventually obtained with their second motion. Because Plaintiffs’ first unsuccessful motion

was not a necessary step to achieving the success they obtained with their second motion, pursuant

to the foregoing authority, this Court should exclude from its lodestar calculation any hours spent

by Plaintiffs’ counsel prosecuting Plaintiffs’ first motion to clarify. Compare Cabrales, 935 F.2d

at 1052-53 (concluding that prevailing plaintiff was entitled to recover fees for unsuccessfully

opposing defendant’s first petition for writ of certiorari only because that stage of litigation was

“a necessary step” to helping plaintiff obtain the ultimate victory it achieved in that case).

        A review of the billing statements submitted by Plaintiffs in support of their fee petition

reveals that their counsel spent 218.2 attorney hours and 12.4 paralegal hours (for a total of 230.6

hours) prosecuting Plaintiffs’ first motion to clarify. See Exhibits A-1 and A-2 to Olsen Dec. 5

These hours equate to $119,011.50 in requested fees. 6 For the foregoing reasons, when engaging

in its lodestar calculation, the Court should deduct from its reasonable hour calculation all of the

hours spent by Plaintiffs’ counsel (and paralegal) in prosecuting Plaintiffs’ unsuccessful first

motion to clarify. See Exhibit D to Olsen Dec. for Defendants’ overall re-calculation in this regard.

        3. Plaintiffs’ post-judgment efforts did not require hiring more attorneys
           than those utilized to secure the injunction

        In their moving papers, Plaintiffs acknowledge that several lawyers from the Covington &

Burling law firm—a law firm not involved in the underlying litigation—were retained to assist

with Plaintiffs’ post-judgment enforcement efforts. See Renn Dec., ¶ 67. Although six (6) lawyers



5
  Exhibit A-1 to the Olsen Declaration is a copy of the billing entries Plaintiffs submitted in support of their
fee petition with those entries relating to Plaintiffs’ first motion to clarify highlighted in red. Exhibit A-2 is
a tally of the hours spent by each attorney and related fees concerning Plaintiffs’ counsel’ work on the first
motion to clarify.
6
  This figure was arrived at by taking the hours billed by each of Plaintiffs’ counsel and their paralegal and
multiplying those hours by each counsel’s respective hourly rate as identified in Plaintiffs’ fee petition.

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from the Covington law firm assisted with Plaintiffs’ enforcement efforts, Plaintiffs only seek to

recover fees, utilizing corresponding Boise rates, for the hours spent by three of these six lawyers:

Isaac Belfer, Michael Lanosa and Colleen Smith. Id. at ¶¶ 67-68.

        Plaintiffs’ retention of the Covington lawyers to assist with preparing their two motions to

clarify and with Plaintiffs’ other related post-judgment efforts unnecessarily increased the attorney

fees in this case. 7 Hiring additional attorneys with LGBT litigation experience to assist with

Plaintiffs’ post-judgment efforts was unnecessary given that the instant proceedings were not about

LGBT constitutional rights, as was the case in the initial proceedings. Rather, the instant

proceedings involved only enforcement of what was otherwise an unambiguously-worded

injunction. Further, the retention of additional attorneys in this matter contradicts Plaintiffs’

argument that they needed to use those out-of-state attorneys who represented them in the initial

proceedings to assist in the post-judgment proceedings because of the familiarity those attorneys

had with the underlying constitutional issues. If that were, in fact, the case, it makes little sense

why the new Covington attorneys were needed to assist in the post-judgment proceedings, when

those attorneys had no special familiarity with any of the underlying facts or issues. Because hiring

the Covington attorneys was unnecessary and redundant, all of Plaintiffs’ requested fees for the

Covington attorneys should be deducted from the Court’s lodestar calculation. 8

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7
  By focusing only on certain specific time entries offered in support of Plaintiffs’ fee petition, Defendants
are not conceding to the reasonableness of any of Plaintiffs’ requested fees that are not specifically
mentioned in this brief. Rather, Defendants have simply chosen to focus on the more egregious excesses
contained in Plaintiffs’ fee petition.
8
  According to the table on pages 19 and 20 of Plaintiffs’ fee petition, the total fees associated with the time
expended by the three Covington attorneys is $51,645. This amount should be deducted from any fee award
made.

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        4. The hours spent preparing Plaintiffs’ fee petition are excessive

        A review of Plaintiffs’ billing statements reveals that Plaintiffs’ counsel spent a total of

189.8 attorney hours and 7.5 paralegal hours—a whopping total of $86,815.50 in requested legal

fees—preparing Plaintiffs’ fee petition. See Exhibit B-1 and B-2 to Olsen Dec. 9 These hours and

associated fees are excessive and unwarranted and should be reduced.

        The Ninth Circuit has routinely held that, if a prevailing party’s fee request related to work

on the merits of the case is reduced to account for the prevailing party’s limited success on the

merits, a corresponding reduction should also be made to the prevailing party’s fees-on-fees

request (i.e., those incurred in preparing the fee petition). See Schwarz, 73 F.3d at 909 (“A district

court does not abuse its discretion by applying the same percentage of merits fees ultimately

recovered to determine the proper amount of the fees-on-fees award”). When this happens, no

further explanation for the fees-on-fees reduction is needed, as long as the district court explains

its reduction for the merits fee award. Id.

        That principle should be applied here. This Court should reduce Plaintiffs’ fees-on-fees

request by the same percentage reduction it applies to Plaintiffs’ merit-based fee request. See

Webb, 195 F.3d at 526 n.2 (encouraging lower court to apply Schwarz’s merit fees versus fees-on-

fees methodology on remand).

        There are other, independent reasons for substantially reducing Plaintiffs’ enormous fees-

on-fees request. This Court in Latta v. Otter, 2014 WL 7245631 (D. Idaho Dec. 19, 2014),

recognized that preparing a fee petition and related documents is not “complex legal work;”

indeed, as this Court noted, such work “barely qualifies as legal work.” Id. at *9. In Latta, which


9
  Exhibit B-1 to the Olsen Declaration is a copy of the billing entries Plaintiffs submitted in support of their
fee petition with those entries relating to Plaintiffs’ fee petition highlighted in red. Exhibit B-2 is a tally of
the hours spent by each attorney and related requested fees concerning Plaintiffs’ counsel’ work on the fee
petition.

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was a case involving weighty constitutional issues of first impression concerning the issue of same

sex marriage, this Court held that 77.7 hours spent preparing the plaintiffs’ fee petition was

excessive. Id. The Court, therefore, reduced plaintiffs’ fees-on-fees award to reflect 40 hours for

work on the fee petition, which the Court deemed was reasonable given the nature of that case and

related fee petition. Id. at *10.

        Here, as previously noted, Plaintiffs’ counsel spent over 197 legal hours preparing

Plaintiffs’ fee petition and supporting documents. Plaintiffs also intend to add to their fee request

the hours they will spend preparing a reply brief in support of their fee petition. For the same

reasons noted in Latta, this Court should conclude that over 197 legal hours spent to date

prosecuting a fee petition in a case such as this one—involving just two post-judgment proceedings

over a five-month period that did not involve the litigation of any complex legal issues—is

excessive. As in Latta, Plaintiffs’ fees-on-fees request should be reduced to no more than 40 total

hours, and these hours should be billed at the corresponding Boise rates for each of Plaintiffs’

counsel as explained below. 10 Under this method, Plaintiffs’ total fees-on-fees award should be

reduced to a reasonable amount of no more than $11,800. See Exhibit C to Olsen Dec. (setting

forth Defendants’ adjusted fees-on-fees calculation).

     B. The Hourly Rates Of Out-Of-State Counsel Are Not Warranted, Where Counsel
        Contributed No Special Expertise To The Post-Judgment Proceedings

        1. The relevant legal expertise is expertise in post-judgment enforcement of
           an injunctive order, which out-of-state counsel does not appear to have

        Plaintiffs concede that the relevant legal community for determining the prevailing market

hourly rate for counsel’s time usually is where the district court sits (which here is Boise, Idaho).



10
   Plaintiffs cannot reasonably argue that their out-of-state counsel brought any special expertise to
preparing their fee petition. Thus, time spent by out-of-state counsel preparing Plaintiffs’ fee petition should
be billed using forum rates, not out-of-state rates.

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However, they argue that a recognized exception to this rule applies, which is that rates outside

the forum may be utilized in calculating the lodestar amount when special circumstances exist,

such as when out-of-state counsel’s expertise is reasonably necessary to litigate the unique claims

or issue in the case, or, in other words, when a case requires specialized legal expertise that is not

available in the forum state. Plaintiffs argue that the post-judgment motions in this case involved

special circumstances justifying the need to retain out-of-state counsel who have unique and

extensive experience litigating the constitutional rights of transgender people. Consequently, they

argue that out-of-state counsel’s home rates should be applied to the time expended in this matter

by out-of-state counsel, specifically, those attorneys employed by Lambda Legal in Los Angeles

and Chicago, including Peter Renn, Kara Ingelhart and Nora Huppert.

       The fatal flaw in Plaintiffs’ argument here is that the legal expertise relevant to the post-

judgment proceedings is not expertise in litigating the constitutional rights of transgender people.

Rather, the relevant legal expertise is expertise in post-judgment enforcement of an injunctive

order and application of that order to potential new law. There is no evidence in the record,

however, suggesting that any of the three Lambda Legal attorneys who billed time in this matter

have any unique experience litigating post-judgment enforcement of an injunctive order and, in

particular, litigating how such an injunction might apply to a new statute. As previously noted,

unlike the underlying proceedings where the constitutional rights of transgender people were front

and center, the primary issues in the instant proceedings involved application of an unambiguous

injunction to new law. These issues are not unique to litigating the constitutional rights of

transgender people, which is the special legal expertise out-of-state counsel claims to have here.

       Where no evidence exists that the legal expertise relevant to the post-judgment

enforcement proceedings was unavailable in the relevant forum (Boise, Idaho), no basis exists to



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deviate from the general rule, which requires this Court to utilize forum rates (Boise rates) when

calculating the lodestar amount for Plaintiffs’ fee award. Simply put, Plaintiffs have not met their

burden of establishing that the use of out-of-state hourly rates would be reasonable or justified in

this case. 11

        2. The post-judgment circumstances here were so unique that no lawyer
           could be said to have special expertise dealing with these circumstances

        Alternatively, assuming some specialized legal expertise was, in fact, reasonably required

to litigate the issues raised in the instant proceedings, there is no evidence before this Court that

any of the out-of-state Lambda Legal attorneys have that specialized legal expertise. Plaintiffs

themselves argued in their moving papers that these post-judgment proceedings involved

“extraordinary” circumstances where there simply was “no defined path” for how this post-

judgment litigation should unfold. (Memo. in Supp. of Plfs’ Mot. for Fees at 1, 3). Essentially,

they argue that there is no precedent for litigating the type of unique circumstances present in this

case. Assuming arguendo that that is true, by the very nature of this argument, no attorney can be

said to have the special expertise needed to handle this case’s unique circumstances.

        Absent any evidence that out-of-state counsel had any specialized legal expertise that was

relevant to these proceedings, the Court should reject Plaintiffs’ argument that utilizing out-of-

state counsel’s higher hourly rates is reasonable when calculating the lodestar amount for

Plaintiffs’ fee award.



11
   Defendants acknowledge that there was likely some benefit to hiring the Lambda Legal attorneys who
handled the initial proceedings to pursue Plaintiffs’ post-judgment enforcement efforts because of their
familiarity with the issues raised in the underlying matter. But out-of-state counsels’ familiarity with the
issues from the initial proceedings was not necessary to adequately represent Plaintiffs in the post-judgment
enforcement proceedings, where the subject injunctive order contained plain and clear language and did not
require any specialized knowledge, or background understanding by counsel to help the Court decipher, for
example, any ambiguity in the order. In short, where out-of-state counsel brought no specialized expertise
to these proceedings, their time expended in this matter should be billed at forum rates.

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         3. Because Lambda Legal’s counsel offered no unique expertise, their time
            should be billed at Boise’s prevailing market rates

         For the reasons stated above, the Court, when calculating the lodestar amount, should apply

Boise’s prevailing market rates to all of Plaintiffs’ counsels’ time reasonably expended in this

matter, including time expended by Plaintiffs’ out-of-state Lambda Legal counsel. In terms of what

rates are reasonable and accurately represent Boise’s prevailing market rates, Defendants will

agree, for purposes of Plaintiffs’ pending fee petition only, that the Boise hourly rates identified in

the Declaration of Idaho counsel, Thomas Lloyd, (Dkt. 83-5), represent reasonable rates to be

applied by the Court in its lodestar calculation. Even though a close review of the Boise hourly

rates identified in Mr. Lloyd’s declaration suggest that those rates actually fall more in the very

high end of what Defendants believe constitute the true prevailing market rates in Boise, in the

interest of compromise and to avoid wasting the Court’s precious time and resources, Defendants

will accept these rates as the relevant rates to be applied when calculating Plaintiffs’ ultimate fee

award.

         For Defendants’ overall calculation and summary of what constitutes a reasonable amount

of time expended in this matter by Plaintiffs’ counsel multiplied by the corresponding Boise rates

for each of Plaintiffs’ lawyers, and what Defendants believe represents a reasonable award of

attorney’s fees in this matter, see Exhibit D to the Olsen Declaration. As noted in Defendants’

Exhibit D, a reasonable award of attorney’s fees in this matter should not exceed $148,000.

                                      IV.     CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court reduce

Plaintiffs’ fee request accordingly, as set forth above.




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     DATED this 19th day of November, 2021.


                                              STATE OF IDAHO
                                              OFFICE OF THE ATTORNEY GENERAL


                                       By: /s/ Steven L. Olsen
                                           STEVEN L. OLSEN
                                           Deputy Attorney General




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 19th day of November, 2021, I electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system which sent a Notice of

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                                                  By: /s/ Steven L. Olsen
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